Case 1:21-cr-00041-JL Document 321-25 Filed 07/17/23 Page 1 of 2
          Case 1:21-cr-00041-JL Document 321-25 Filed 07/17/23 Page 2 of 2


S um m ary ofDepositS ources
W ellsFargoCHK,A /C 8055
A        .S
N ovem ber2017 -M ay 2018 (closed)
DepoistS ource                       Count T otalDeposited  P ercentageofT otal
Card 0356                              1             $25.00        0.02%
Cash                                  95         $121,
                                                     839.29       97.97%
Freem an,Ian(reverseofprevious         1           $2,
                                                     500.00        2.01%
transfer)
Grand T otal                          97        $124,
                                                    364.29       100.00%

S um m ary ofP ayees
W ellsFargoCHK,A /C 8055
A        .S
N ovem ber2017 -M ay 2018 (closed)
P ayee                               Count    T otalP aid    P ercentageofT otal
BankFee                                2             -$20.00         0.02%
CryptoChurchofN H                      1          -$7,900.00         6.35%
Freem an,Ian                          11          -$6,177.00         4.97%
Freem an,Ian(reversed)                 1          -$2,500.00         2.01%
L        R                            10          -$4,767.29         3.83%
S        A                            17       -$103, 000.00        82.82%
Grand T otal                          42       -$124, 364.29       100.00%




asofFebruary 16,2021
